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                 IN THE UNITED STATES DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

   GERRY ARMBRUSTER,                                       )
                                                           )
                  Plaintiff,                               )
                                                           )
                  v.                                       )    Case No. 16 C 0544
                                                           )
   WEXFORD HEALTH SOURCES, INC., et al.,                   )    Hon. Michael J. Reagan, C.J.
                                                           )
                  Defendants.                              )    Hon. Mark A. Beatty, M.J.


        PLAINTIFF’S MOTION FOR LEAVE TO FILE MOTION IN LIMINE
    REGARDING TESTIMONY FROM DEFENSE EXPERT DR. FRANK PETKOVICH

         Plaintiff, Gerry Armbruster, by his attorneys, hereby respectfully requests leave to file a

  motion in limine regarding the admissibility of certain testimony from one of Defendants’

  experts, Dr. Frank Petkovich. In support of his request, Plaintiff states as follows:

         As part of their defense, the Wexford Defendants have disclosed an orthopedic expert,

  Dr. Frank Petkovich, to offer opinions about Plaintiff’s treatment at Southwestern Illinois

  Correctional Center, his spinal cord compression, and his recovery following Plaintiff’s spinal

  surgery in September 2014 after he was released. Plaintiff does not seek to bar Dr. Petkovich

  from trial altogether nor does he challenge a number of his opinions.

         But Plaintiff does seek the opportunity to raise three discrete issues regarding Dr.

  Petkovich’s opinions prior to trial. Plaintiff is mindful that this Court’s “Case Management

  Procedures” specify that Daubert motions should be filed by the dispositive motions deadline—

  in this case, June 22, 2018. Chief Judge Michael J. Reagan, “Case Management Procedures,”

  available at http://www.ilsd.uscourts.gov/documents/Reagan.pdf. No party filed a Daubert

  motion by that date, although Defendants did seek summary judgment in their favor. See Dkt. 87.
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         This Court has wide discretion to excuse noncompliance with local rules like this Court’s

  case management procedures. Edgewood Manor Apartment Homes, LLC v. RSUI Indem. Co.,

  733 F.3d 761, 770 (7th Cir. 2013). And Plaintiff respectfully requests that it do so here for a

  number of reasons. First, the issues raised in Plaintiff’s proposed motion in limine are discrete

  and do not seek total exclusion of Defendants’ expert. To the contrary, Plaintiff’s proposed

  motion challenges just three categories of testimony, none of which are likely to require a

  Daubert hearing to resolve. Rutz v. Novartis Pharma. Corp., 2013 WL 1412276, at *1 (S.D. Ill.

  Apr. 8, 2013) (explaining that the Court requires Daubert motions to be filed with dispositive

  motions in part so that there is adequate time to hold a Daubert hearing).

         This Court should also grant Plaintiff leave to file his motion in limine because otherwise

  the parties (and the Court) will be forced to address the admissibility of Dr. Petkovich’s

  testimony in the midst of trial, which may cause unnecessary delay, or (if the Court precludes

  Plaintiff from raising any objection to Dr. Petkovich’s testimony whatsoever) the jury will be

  permitted to hear clearly improper opinion testimony by Dr. Petkovich about who in this case is

  more believable. See, e.g., Wright & Miller, Fed. Practice & Proc. § 6265.2 (“[C]ourts generally

  exclude expert opinion as to whether a witness is or is not telling the truth.”) (collecting cases);

  Goodwin v. MTD Prods., Inc., 232 F.3d 600, 609 (7th Cir. 2000) (“credibility determinations are

  within the province of the trier of fact”); see also Lewis v. CITGO Petroleum Corp., 561 F.3d

  698, 704 (7th Cir. 2009) (“[w]e have not required that the Daubert inquiry take any specific

  form” including in a pretrial motion in limine); Brown v. Burlington Nn. Santa Fe Ry. Co., 765

  F.3d 765, 772 (7th Cir. 2014) (it is the party seeking to introduce expert testimony who must

  establish that Rule 702’s requirements have been met prior to its admission); cf. Custom Foam

  Works, Inc. v. Hydrotech Sys., Ltd., 2011 WL 863391, at *2 (denying motion to strike expert as


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  untimely in part because “since this matter is scheduled for a bench trial, there is no danger of

  improperly influencing the jury with testimony that may ultimately be stricken or disregarded

  under Daubert”).

         In sum, because the issues in Plaintiff’s proposed Daubert motion in limine are discrete

  and are unlikely to require a hearing, and because it is preferable to resolve that motion in

  advance of trial (rather than risk delay or admission of clearly improper testimony), Plaintiff

  respectfully requests that this Court grant him leave to file the attached motion in limine and

  resolve the challenged testimony before trial.

                                                                       Respectfully submitted,

                                                                       /s/ Sarah Grady
                                                                       Attorney for Plaintiff


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                                 CERTIFICATE OF SERVICE
          I, Sarah Grady, an attorney, hereby certify that on January 17, 2019, I caused the
  foregoing to be filed using the Court’s CM/ECF system, which effected service on all counsel of
  record.


                                                             Respectfully submitted,

                                                             /s/ Sarah Grady
                                                             Attorney for Plaintiff




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